                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 1 of 11




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                    9                              UNITED STATES DISTRICT COURT
                  10                                    DISTRICT OF ARIZONA
                  11    Russell B. Toomey,                             No. 4:19-cv-00035
                  12                      Plaintiff,                   DEFENDANTS STATE OF
                                                                       ARIZONA’S, ANDY TOBIN’S, AND
                  13           v.                                      PAUL SHANNON’S REPLY IN
                                                                       SUPPORT OF MOTION FOR
                  14    State of Arizona, et al.                       RECONSIDERATION AND MOTION
                                                                       TO STAY ORDER
                  15                      Defendants.
                                                                       (ORAL ARGUMENT REQUESTED)
                  16
                  17           Plaintiff’s Memorandum of Law In Opposition to State Defendants’ Motion For

                  18    Reconsideration And Motion to Stay (Doc. 264) (the “Opposition”) mischaracterizes the

                  19    State of Arizona’s, Andy Tobin’s, and Paul Shannon’s (the “State Defendants”) statements

                  20    during oral argument before the Ninth Circuit Court of Appeals and the scope of the State

                  21    Defendants’ concession disclaiming any advice-of-counsel defense. At oral argument,

                  22    State Defendants reemphasized their position that they have not asserted any advice-of-

                  23    counsel defense. They further agreed to affirmatively disclaim any advice-of-counsel

                  24    defense in the future.     State Defendants did not disclaim, however, and have never

                  25    disclaimed their position that the State maintained the exclusion for gender reassignment

                  26    surgery (the “Exclusion”), in part, because it was not legally required to provide coverage
FENNEMORE CRAIG, P.C.
       PHOENIX
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 2 of 11




                    1   for such procedures. The State Defendants’ disclaimer (without more) nullifies Plaintiff’s
                    2   argument that, as a matter of fairness, he needs access to legal advice State Defendants
                    3   received regarding the legality of the Exclusion in order to address an advice-of-counsel
                    4   defense in this litigation. This is further supported by Plaintiff’s arguments in the Motion
                    5   to Compel Production of Documents (Doc. 195) (the “Motion to Compel”), in which
                    6   Plaintiff did argue that production of the privileged documents were necessary because the
                    7   State Defendants had asserted reliance on advice of counsel as a defense. (See, e.g., Doc.
                    8   195 at 3:17–191 (“State Defendants have waived the attorney-client privilege by asserting
                    9   and relying on legal advice as a defense to the charge that discriminatory intent did not
                  10    motivate their decision to maintain the Exclusion[.]”) (emphasis added).) For these reasons,
                  11    as more fully outlined below, the Court should grant the State Defendants’ Motion for
                  12    Reconsideration and enter an order denying Plaintiff’s Second Motion to Compel.
                  13    I.     THE COURT SHOULD DENY PLAINTIFF’S MOTION TO COMPEL.
                  14           A.     The State Defendants Disclaimed an Advice-of-Counsel Defense—and
                                      Only the Advice-of-Counsel Defense—During Oral Argument Before
                  15                  The Ninth Circuit.
                  16
                               Throughout oral argument before the Ninth Circuit, the State Defendants clearly
                  17
                        stated that they were disclaiming any “advice-of-counsel defense,” not their position that
                  18
                        the State was not legally required to provide coverage for gender reassignment surgery. The
                  19
                        pertinent discussions are as follows:
                  20
                                      HON. RICHARD CLIFTON: What is the State’s position as to
                  21                  whether or not it relied upon advice of counsel? Would it
                                      disclaim reliance upon advice of counsel as a defense?
                  22
                                      MR. BERG: I think it would disclaim reliance on advice of
                  23                  counsel as a defense, Your Honor, yes.
                  24    (Doc. 264-2 at 32:18–24 (emphasis added).)
                  25
                        1
                         Unless otherwise noted, pin citations refer to the ECF page number listed at the top of the
                  26    page for filed documents.
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                   -2-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 3 of 11




                    1                   HON. RICHARD CLIFTON: And are you prepared to
                                        disclaim raising advice of counsel as a defense?
                    2
                                        MR. BERG: Yes, Your Honor, we are. . . . But I think what we
                    3                   are saying is, no one is claiming we -- that advice of counsel is
                                        a defense to the underlying claim here[.]
                    4
                        (Id. at 33:13–23 (emphasis added).)
                    5
                                        HON. PAUL WATFORD: . . . But as I understand, what you’re
                    6                   saying is that you’ve provided these interrogatory responses.
                                        You’re saying that the District Court and the Plaintiffs (sic)
                    7                   misinterpreted what you were trying to say there. And you’re
                                        saying now, to the extent that any of you all thought that we
                    8                   were trying to raise some kind of an advice of counsel
                                        defense, we are not doing so. We are, you know, assuming
                    9                   this case were to go to a jury2 or whatever, we are not going to
                                        be arguing that. And I guess, if we or the District Court were
                  10                    to hold you to that, then there’d be no reason for them to get
                                        access to these documents? Is that what you’re saying?
                  11
                                        MR. BERG: Correct, Your Honor. Exactly. That’s precisely
                  12                    the argument we’re making.
                  13    (Id. at 34:2–21 (emphasis added).)
                  14             The Ninth Circuit did not suggest once during oral argument that the State
                  15    Defendants would need to revise their Interrogatory responses or abandon their position that
                  16    they maintained the Exclusion because they believed the State is not legally required to
                  17    provide coverage for gender reassignment surgeries. Indeed, the State Defendants actually
                  18    detailed to the Ninth Circuit that they would continue to assert that they were not legally
                  19    required to provide such coverage and that the State’s determination was based on a number
                  20    of factors:
                  21                    HON. RICHARD PAEZ: Is it your -- does your concession
                                        mean that no witness is going to get up there and say, we
                  22                    consulted with a lawyer? That’s not going to be -- you're not
                                        going to do that.
                  23
                                        MR. BERG: I think what my concession means is no witness
                  24                    is going to get up there and said (sic), because we had legal
                                        advice that we could do this, we didn’t have the intent. What
                  25                    they’re going to get up and say is, we looked at a whole bunch
                  26    2
                            No party requested or demanded a jury trial for this case. (See Doc. 128 at 13:24-25.)
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                      -3-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 4 of 11




                    1                 of things, and here was what we decided to, and one of the
                                      reasons was cost containment. And one of the reasons is, when
                    2                 we look at all this stuff, including stuff from our insurance
                                      company and outside periodicals, we didn’t think we had to
                    3                 cover them, and we didn’t think we had bad intent.
                    4   (Id. at 40:11–41:2 (emphasis added).)
                    5          Contrary to Plaintiff’s suggestion, the State Defendants’ Motion for Reconsideration
                    6   is entirely consistent with their representations before the Ninth Circuit and the Ninth
                    7   Circuit’s discussion of the concession disclaiming an advice-of-counsel defense.
                    8          Further, Plaintiff has the burden of showing State Defendants had discriminatory
                    9   intent, and State Defendants have asserted that they had no discriminatory intent, in part,
                  10    because they concluded the law did not require that transgender surgeries had to be covered.
                  11    That is not the same as an advice-of-counsel defense that would waive the attorney-client
                  12    privilege. Indeed, there is a significant difference between an advice-of-counsel defense
                  13    (not asserted here, and affirmatively disclaimed in any event), and defenses based on intent.
                  14    The two are different and must not be conflated. U.S. v. White, 887 F.2d 267, 270 (D.C.
                  15    Cir. 1989). The lower court in White erred by equating the defendant’s denial of intent with
                  16    a reliance on advice of counsel defense. Id. at 270. As Judge Ginsburg explained, “A rule
                  17    thus forfeiting the [attorney-client] privilege upon denial of mens rea would deter
                  18    individuals from consulting with their lawyers to ascertain the legality of contemplated
                  19    actions; it would therefore undermine the animating purpose of the privilege.” Id. Further,
                  20    “Reliance on advice of counsel is an affirmative defense, an assertion more specific than
                  21    general denial of criminal intent.” Id. Indeed, the defendant in White “carefully refrained
                  22    from relying on any statements of counsel and expressly disavowed any intent to rely on an
                  23    advice-of-counsel defense.”     Id.   State Defendants likewise have not asserted and
                  24    affirmatively disavow any advice-of-counsel defense.
                  25    ...
                  26    ...
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                    -4-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 5 of 11




                    1          B.     Plaintiff’s Motion to Compel Argued That the State Defendants Were
                                      Purportedly Asserting an Advice-of-Counsel Defense.
                    2
                    3          To fully address Plaintiff’s arguments in the Opposition, it is necessary to consider
                    4   the stated basis for Plaintiff’s Motion to Compel. Plaintiff argued that the State Defendants
                    5   waived the attorney-client privilege by “asserting and relying on legal advice as a defense
                    6   to the charge that discriminatory intent [motivated] [State Defendants’] decision to maintain
                    7   the Exclusion.”3 (Doc. 195 at 3:17–19 (emphasis added); see also id. at 9:1–11:6.)
                    8          Ruling upon the Motion to Compel, Magistrate Judge Bowman found that the State
                    9   Defendants had implicitly asserted an advice-of-counsel defense. (See Doc. 213 at 4:10–
                  10    16 (“By allegedly relying on [] legal advice to explain their actions, the State Defendants
                  11    have waived by implication their attorney-client privilege as to that advice.”).) Magistrate
                  12    Judge Bowman was “not convinced” by the State Defendants’ argument that they have
                  13    never asserted such a defense. (See id. at 4:10–16, 5:16–22.) In sum, Magistrate Judge
                  14    Bowman found that the privilege had been waived because she found that the State
                  15    Defendants had asserted an advice-of-counsel defense, as argued by Plaintiff.
                  16           This Court affirmed Magistrate Judge Bowman’s Order and stated that “the State
                  17    Defendants’ Interrogatory Responses indicate that they relied on the advice of legal counsel
                  18    in deciding to maintain the exclusion of coverage for gender reassignment surgery.” (Doc.
                  19    241 at 7:8–12.) The Court went on to state that “Plaintiff is unable to adequately respond
                  20    to this defense without viewing the withheld documents.” (Id. at 7:13–17 (emphasis
                  21    added).) Therefore, this Court also found that the privilege had been waived due to an
                  22    implied advice-of-counsel defense, consistent with Plaintiff’s arguments.
                  23
                        3
                          Plaintiff’s Motion to Compel also asserted that the State Defendants waived the privilege
                  24    by disclosing the content of privileged communications during depositions and to the
                        Governor’s Office. Neither this Court nor the Ninth Circuit relied on this rationale in
                  25    deciding the Motion to Compel, State Defendants’ Objection to the Order, or the Petition
                        for Writ of Mandamus. State Defendants continue to dispute that they waived the privilege
                  26    through disclosure, but will not address that argument in detail here.
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                    -5-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 6 of 11




                    1          Now, for the first time, Plaintiff claims that he never argued that the privilege was
                    2   waived due to an advice-of-counsel defense. (See Doc. 264 at 9:11–20.) This is plainly
                    3   inaccurate, as demonstrated above. Moreover, both Magistrate Judge Bowman’s Order and
                    4   this Court’s Order are premised on a finding that the State Defendants implicitly asserted
                    5   an advice-of-counsel defense in their Interrogatory responses. (See generally Docs. 213,
                    6   241.) The State Defendants’ disclaimer nullifies this purportedly implied defense and, as a
                    7   result, nullifies the need for Plaintiff, based on any fairness concern, to obtain the State
                    8   Defendants’ privileged documents to rebut the defense.
                    9          C.     The State Defendants’ Disclaimer Also Resolves Any Concern Under the
                                      “At-Issue” Doctrine.
                  10
                  11           Plaintiff attempts to sidestep its prior argument about an advice-of-counsel defense
                  12    resulting in waiver, by now asserting that the Court instead relied on the “at issue” doctrine.
                  13    (See Doc. 264 at 9:11–20.) This argument is equally unpersuasive because Plaintiff cannot
                  14    satisfy any element of the “at issue” doctrine in light of the State Defendants’ disclaimer of
                  15    the advice-of-counsel defense.
                  16           The “at issue” doctrine applies when “a party, in the course of litigation, (1) makes
                  17    an affirmative act injecting privileged materials into a proceeding, (2) thereby putting the
                  18    materials at issue, (3) where application of the privilege would deny the opposing party
                  19    access to information needed to effectively litigate its rights in the adversarial system.”
                  20    United States v. Amlani, 169 F.3d 1189, 1195 (9th Cir. 1999) (emphasis added); see also
                  21    Melendres v. Arpaio, CV-07-2513-PHX-GMS, 2015 WL 12911719, at *2 (D. Ariz. May
                  22    14, 2015). “[D]isclosing that legal counsel was consulted, the subject about which advice
                  23    [was] received, or that action was taken based on that advice, does not necessarily waive
                  24    the privilege protection.” Melendres, 2015 WL 12911719, at *3.
                  25           The State Defendants maintain that they have never “injected” their privileged
                  26    communications into this litigation. (See Docs. 201, 223.) However, in light of the
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                     -6-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 7 of 11




                    1   disclaimer made by State Defendants at oral argument before the Ninth Circuit—clarifying
                    2   both that they have not asserted the advice-of-counsel defense in the past and will not assert
                    3   it at any point in the future—any argument that the State Defendants put their legal advice
                    4   at issue in Interrogatory No. 14 must be withdrawn. Indeed, the Ninth Circuit framed the
                    5   State Defendants’ disclaimer as a statement that they “were not trying to interject the advice
                    6   [they] got from [their] lawyers, and [they] are not going to interject, going forward, the
                    7   advice of [their] lawyers as a defense.” (See Doc. 264-2 at 43:4–16 (Hon. Paul Watford).)
                    8   Therefore, the State Defendants have now clarified that they did not inject their privileged
                    9   communications into this litigation or put those privileged communications at issue.
                  10           In addition to the fact that Plaintiff cannot show the first two elements of the “at
                  11    issue” doctrine, Plaintiff also cannot satisfy the important fairness requirement. To meet
                  12    this element, Plaintiff must show that “application of the privilege would deny [him] access
                  13    to information needed to effectively litigate [his] rights.” Amlani, 169 F.3d at 1195; see
                  14    also Melendres, 2015 WL 12911719 at *2. Because the State Defendants are not asserting
                  15    the advice-of-counsel defense, Plaintiff does not need the privileged communications to
                  16    effectively prosecute his claims. This concern was raised multiple times by the Ninth
                  17    Circuit during oral argument. (See Doc. 264-2 at 43:11-16 (Hon. Paul Watford stating
                  18    “Why doesn’t [the concession] eliminate the need for you now -- as a matter of fairness,
                  19    because that’s the basis on which the District Court ruled -- why doesn’t that eliminate the
                  20    need for you to get access to these privileged documents?”); id. at 51:14–19 (“I’m still
                  21    struggling to understand why you need, and as a matter of fairness, access to these
                  22    documents. I just -- maybe if there’s another -- you can take another run at answering that,
                  23    because I’m still not clear on how this concession doesn’t eliminate this problem.”).)
                  24
                        4
                          The Ninth Circuit affirmatively rejected the argument that the State Defendants’ responses
                  25    to Interrogatory Nos. 4 and 7 could constitute a waiver. (Doc. 264-2 at 43:17–44:19.) Judge
                        Watford explained to Plaintiff that “mere[ly] answering your question truthfully can’t be a
                  26    waiver.” (Id. at 44:15-17.)
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                    -7-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 8 of 11




                    1   Plaintiff was unable to provide any satisfactory response at oral argument and presents no
                    2   different argument in his Opposition. Instead, Plaintiff’s Opposition simply relies on this
                    3   Court’s prior statement that Plaintiff cannot “adequately respond to this [advice-of-counsel]
                    4   defense” without the privileged documents; as discussed above, this concern no longer
                    5   applies in light of the State Defendants’ concession. Quite simply, Plaintiff does not need
                    6   access to the State Defendants’ privileged documents to refute a defense that will never be
                    7   raised. Fairness weighs strongly in favor of preserving the State Defendants’ important
                    8   attorney-client privilege, because Plaintiff does not need the privileged documents to refute
                    9   a defense never asserted that, in any event, State Defendants have disclaimed.
                  10           D.     Plaintiff’s Requested Exclusionary Ruling Is Not Appropriate.
                  11           Plaintiff’s Opposition requests that the Court “issue an order broadly precluding the
                  12    State Defendants from presenting any evidence or arguments bearing State Defendants’
                  13    purported understanding of the legality of the Exclusion.” (Doc. 264 at 13:10–14 (emphasis
                  14    added).) This request is not supported by the law or the facts of this case.
                  15           First—and most important—whether the State is required to provide coverage for
                  16    gender reassignment surgeries is a question of law that the Court must decide. (See Doc.
                  17    264-2 at 45:16–18 (“the Court’s going to decide whether the law requires the provision of
                  18    that coverage”); id. at 46:13–14 (“You’re interested in what the state of the law is, which
                  19    the Court will decide.”); see also id. at 47:12–18 (“You’re not going to argue to the Court
                  20    that it has to accept whatever the Arizona lawyer said to the State. You’re going to argue to
                  21    the Court the law requires these services to be provided; otherwise, you’re violating -- it
                  22    constitutes sex discrimination.”).) Whether the State Defendants were required to provide
                  23    coverage for gender reassignment surgeries goes to the very heart of this litigation, and
                  24    entering an order precluding the State Defendants from “arguing” that the Exclusion is legal
                  25    ...
                  26    ...
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                    -8-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 9 of 11




                    1   would effectively grant summary judgment in Plaintiff’s favor.5 That would be improper.
                    2          Second, Plaintiff’s cited cases do not support its request for an exclusionary order.
                    3   Plaintiff relies heavily on Bittaker v. Woodford, 331 F.3d 715 (9th Cir. 2003). (See Doc.
                    4   264 at 10:19–11:11, 13:3–15:6.) Bittaker is a federal habeas petition, in which the criminal
                    5   defendant alleged ineffective assistance of counsel. 331 F.3d at 716. The question in
                    6   Bittaker was not whether the privilege had been waived, but what the scope of the waiver
                    7   was. Id. at 716–17. In contrast, this is a civil litigation where the State Defendants have
                    8   not asserted an advice-of-counsel defense implicating its attorney-client communications.
                    9   Bittaker provides no support for Plaintiff’s requested order.
                  10           Furthermore, even if Bittaker were applicable (it is not), the Bittaker court expressly
                  11    disapproved of orders such as the one that Plaintiff requests.         When discussing the
                  12    application of an implied waiver, the Bittaker court stated that “[t]he court imposing the
                  13    waiver does not order disclosure of the materials categorically; rather, the court directs the
                  14    party holding the privilege to produce the privileged materials if it wishes to go forward
                  15    with its claims implicating them.” Id. at 720 (emphasis in original). State Defendants do
                  16    not implicate the legal advice received or indicate what the advice was. The Bittaker court
                  17    further explained that this posture was “important” for three reasons. Id. First, “the court
                  18    must impose a waiver no broader than needed to ensure the fairness of the proceedings
                  19    before it” and, as a result, “the scope of the waiver” must be “tailored” to the “needs of the
                  20    opposing party in litigating the claim.” Id. Second, the party may preserve the privilege by
                  21    “choosing to abandon the claim that gives rise to the waiver condition.” Id. at 721. Third,
                  22    the disclosing party “is entitled to rely on the contours of the waiver the court imposes, so
                  23    that it will not be unfairly surprised in the future by learning that it actually waived more
                  24
                  25    5
                         In their Opposition to the Motion to Compel, State Defendants offered the legal rationale
                        and factual background for why they expanded coverage for transgender services effective
                  26    January 1, 2017, but kept the surgery exclusion at issue. (See Doc. 201 at 6:14–9:10.)
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                    -9-
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 10 of 11




                    1    than it bargained for in pressing its claims.” Id. Plaintiff’s proposed exclusionary order
                    2    trivializes all of these important concerns and requests that the Court enter exactly the type
                    3    of order disapproved of in Bittaker. The Court should not grant Plaintiff’s request for an
                    4    order precluding the State Defendants from arguing the legality of the Exclusion.
                    5           E.     The State Defendants’ Motion is Timely.
                    6           Plaintiff argues that the State Defendants could have brought this issue before the
                    7    Court on prior occasions, but fails to identify when or how such an argument should have
                    8    been made. Neither the Magistrate Judge nor the Court entertained oral argument on the
                    9    Motion to Compel or the State Defendants’ Objection to the Order. It was only during the
                  10     March 10, 2022, oral argument at the Ninth Circuit that this issue was discussed.
                  11            Once raised, the Ninth Circuit deemed the State Defendants’ disclaimer to be
                  12     “significant” enough to warrant reconsideration by this Court:
                  13                   HON. RICHARD PAEZ: Let me ask you this. I was not
                                       expecting the concession that Counsel offered during his
                  14                   argument. That wasn’t in my, you know, on my radar screen at
                                       the time. It seems to me, though, that it’s significant enough
                  15                   that the District Court should be able to consider that and
                                       maybe rethink whether or not she -- ordering disclosure is the
                  16                   appropriate thing.
                  17     (Doc. 264-2 at 31:22–32:5 (emphasis added).) In its Memorandum Opinion, the Ninth
                  18     Circuit again suggested that the State Defendants seek reconsideration and stated that it was
                  19     “confident” that the Court “will give that request full consideration.” (Doc. 260 at 5–6.)
                  20     The State Defendants’ concession made at oral argument disclaiming any advice-of-counsel
                  21     defense going forward is a new fact and issue that in the Ninth Circuit’s view is significant
                  22     enough to warrant reconsideration by this Court. Therefore, the State Defendants request
                  23     that the Court consider the substance of the Motion, now fully briefed by the parties.
                  24     II.    CONCLUSION
                  25            Therefore, State Defendants request that the Court reconsider its Order and deny
                  26     Plaintiff’s Motion to Compel.
FENNEMORE CRAIG, P.C.
       PHOENIX


                                                                     - 10 -
                        Case 4:19-cv-00035-RM-LAB Document 266 Filed 05/16/22 Page 11 of 11




                    1               DATED this 16th day of May, 2022.
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                                                                    - 11 -
